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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

PATRICIA WALKER-SWINTON                                                               PLAINTIFF

v.                                     Case No. 4:18-CV-886 (KGB)

PHILANDER SMITH COLLEGE, AND
DR. RODERICK SMOTHERS, SR., PRESIDENT,
IN HIS INDIVIDIAL AND OFFICIAL CAPACITY,
AND DR. ZOLLIE STEVENSON, JR., VICE-PRESIDENT,
ACADEMIC AFFAIRS, IN HIS INDIVIDIAL AND
OFFICIAL CAPACITY                                                                 DEFENDANTS


    PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE IN OPPOSITION TO
PLANITIFF’S MOTION FOR ORDER TO COMPEL AND MAKE DISCLOSURES OF
 PRODUCTION OF DOCUMENTS RESPONSIVE TO PLAINTIFFS’ FIRST SET OF
INTERROGATORIES AND FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                         AND FOR SANCTIONS


       Comes now the Plaintiff, by and through her attorney, Teresa Bloodman, and for her

Reply states:

       1. The Defendants Response in opposition to the motion for order to compel and

disclose does not deny that at on Jan 28, 2020, this Court granted the defendants’ motion for

extension of time to respond to plaintiffs’ discovery requests and entered an Order requiring the

defendants to respond to discovery requests “up to and including January 31, 2020.” (Dkt. 60)

       2. Instead, the defendants argue excusable neglect for their failure to comply with the

Court’s Order. Plaintiff files her reply arguing that the Defendants excuses are inapposite to the

Rules. Further, the defendants do not argue against the Plaintiff’s request to order disclosure of

their untimely and deficient responses, thus supplemental disclosure should be ordered.

       3.     Given the Defendants refusal to comply with this court’s order and their failure to




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provide complete disclosures, this Court should strike each and every pleading and exclude all

evidence otherwise that would be introduced at a trial of this matter.

       4. Plaintiff has concomitantly filed a Brief in Support of her Reply.

           WHEREFORE, the Plaintiff prays that this motion be granted for attorney fees, its

cost expended herein and for all other just and proper relief.



                                                      Respectfully submitted,


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